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                                                                                      Transcript of Ruth Smith
                                                                                                         Date: December 2, 2022
                                                                                                       Case: Smith -v- SunPath, Ltd.




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                                                                                                                            Transcript of Ruth Smith                               14 (53 to 56)

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                                                                                                                               December 2, 2022
                                                                                                                                    53                                                        55
                                                                                  1         (Discussion off the record from 11:00         1          MR. CAFFAS: 4.
                                                                                  2 a.m. to 11:00 a.m.)                                   2          (Smith Deposition Exhibit No. 4 was
                                                                                  3         MR. CAFFAS: Let's go back on the              3 marked for identification and was attached to the
                                                                                  4 record.                                               4 deposition transcript.)
                                                                                  5         Can you reread my last question, Kelly.       5 BY CAFFAS:
                                                                                  6         (The reporter read the requested              6      Q This is a packet of documents, Exhibit
                                                                                  7 testimony.)                                           7 4, and you'll notice these are Bates stamped. By
                                                                                  8 BY MR. CAFFAS:                                        8 Bates stamped, they have a label at the bottom
                                                                                  9      Q Why would you have to refer to your            9 right corner and it says Smith and a series of
                                                                                  10 notes?                                               10 numbers to make it easier to reference. So these
                                                                                  11     A For the exact language.                        11 are Bates labeled SMITH1 through 20.
                                                                                  12     Q Do you remember anything about the             12         Now, these are the documents that we
                                                                                  13 language that led you to make that statement that    13 received from your counsel with the exception of
                                                                                  14 the purpose of the call was to solicit the sale of   14 an e-mail from a company called American
                                                                                  15 SunPath's vehicle service contracts?                 15 Protection and two recordings. I want you to take
                                                                                  16     A Based on my memory, they gave the name         16 a few minutes to look through the documents that I
                                                                                  17 of the company and what they were -- what they       17 have shown you, and can you confirm whether or not
                                                                                  18 were -- I think what they were selling.              18 this is a full collection of the documents that
                                                                                  19     Q When you say the name of the company,          19 you say that you had given to counsel that reflect
                                                                                  20 what was the name of the company?                    20 the notes that you provided in this case.
                                                                                  21     A SunPath.                                       21 A To the best of my knowledge, this is all
                                                                                  22     Q You say that they used the word                22 of the screenshots provided.
                                                                                                                                    54                                                        56
                                                                                  1 "SunPath" as the name of the company, not another     1       Q Now, is it correct to say that there are
                                                                                  2 company's name?                                       2  no  notes in that production that contain your
                                                                                  3          MR. SMITH: Objection, misstates the          3 description or recollection of any of the calls
                                                                                  4 witness's testimony.                                  4 that you've described?
                                                                                  5       A I would have to refer to my notes for         5       A So these are the lists of the
                                                                                  6 exactly what the...                                   6 screenshots.
                                                                                  7 BY MR. CAFFAS:                                        7       Q So is it accurate that the notes that
                                                                                  8       Q I'll represent to you that we have not        8 you're referring to about your recollection of the
                                                                                  9 received any notes at all that show what your         9 calls, those aren't contained in that set of
                                                                                  10 recollection is of any of these calls.               10 documents?
                                                                                  11         MR. SMITH: Objection. That misstates         11      A I'm not sure how that's like compiled.
                                                                                  12 the question.                                        12      Q In the set of documents that I just
                                                                                  13 BY MR. CAFFAS:                                       13 handed you, can you confirm just with a yes or no,
                                                                                  14      Q You're saying that any of your notes          14 if you can, whether or not the notes that you're
                                                                                  15 regarding the calls that we're talking about were    15 referring to are in that set of documents?
                                                                                  16 given to counsel, right?                             16      A Of the -- no.
                                                                                  17      A After my -- after I received the calls,       17      Q And I'll represent to you that with the
                                                                                  18 yes, I put it on my notes and I submitted it.        18 exclusion of an e-mail that contains I believe the
                                                                                  19      Q I'm going enter what will be -- I think       19 SunPath policy quote that you're referring to, we
                                                                                  20 this is Exhibit 5.                                   20 received no other documents, written documents,
                                                                                  21         MR. CAFFAS: Is that correct?                 21 from you at all. Are you saying that --
                                                                                  22         THE REPORTER: 4.                             22         MR. SMITH: Objection. That
                                                                                                                             PLANET DEPOS
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                                                                                                                               Transcript of Ruth Smith                              23 (89 to 92)

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                                                                                                                                  December 2, 2022
                                                                                                                                        89                                                     91
                                                                                  1 that call was received and what number you               1      Q And in the process of trying to
                                                                                  2 received that telephone call from?                       2 understand who is contacting you, did you request
                                                                                  3       A At this time, I don't believe I have it.         3 to receive that product?
                                                                                  4       Q Do you have your voicemail saved on your         4         MR. SMITH: Object, vague,
                                                                                  5 phone?                                                   5 argumentative.
                                                                                  6       A I don't keep them for long periods of            6         MR. CAFFAS: Argumentative?
                                                                                  7 time.                                                    7         MR. SMITH: Yeah.
                                                                                  8       Q Is there a reason why you got rid of             8         MR. CAFFAS: Can you explain?
                                                                                  9 this voicemail that's the subject of the claims in       9         MR. SMITH: You're trying to suggest the
                                                                                  10 the lawsuit?                                            10 answer to her.
                                                                                  11      A You're talking about the second                  11        MR. CAFFAS: Before you answer, Kelly,
                                                                                  12 voicemail?                                              12 could you read my question again.
                                                                                  13      Q Yes.                                             13        (The reporter read the requested
                                                                                  14      A Yeah, I don't remember receiving that            14 question.)
                                                                                  15 voicemail. That specific voicemail, I don't             15     A So I was trying to understand who was
                                                                                  16 remember. The first one I do.                           16 trying to contact me.
                                                                                  17      Q Are you saying that you don't -- you             17        MR. CAFFAS: Can you reread the
                                                                                  18 didn't provide this to your counsel, or you just        18 question, please.
                                                                                  19 don't remember receiving it or giving it to your        19        (The reporter read the requested
                                                                                  20 counsel?                                                20 question.)
                                                                                  21      A I don't remember receiving that                  21     A Did I request to see the specific
                                                                                  22 voicemail.                                              22 product? No. I was asking I believe that I
                                                                                                                                        90                                                     92
                                                                                  1       Q Do you have any reason to doubt that you         1 wanted them to have them e-mail me something to
                                                                                  2  did receive it and provide it to your counsel?          2 validate who they were.
                                                                                  3       A You're saying do I have a doubt that I           3 BY MR. CAFFAS:
                                                                                  4 received it and didn't provide it to my counsel?         4      Q So you made an inquiry about who they
                                                                                  5 I'm sorry. I'm not understanding.                        5 were and what they were selling?
                                                                                  6       Q You say you don't remember receiving it.         6        MR. SMITH: Objection, argumentative.
                                                                                  7  Do  you  have any reason to doubt that this call was    7      A No. I was trying to determine who was
                                                                                  8 made to you, resulted in this voicemail that you         8 trying to contact me.
                                                                                  9 received, and then you then passed it on to your         9 BY MR. CAFFAS:
                                                                                  10 counsel?                                                10     Q Right. And in the process of trying to
                                                                                  11      A So to the best of my knowledge,                  11 determine that, did you make an inquiry about who
                                                                                  12 everything that I received, I provided, but I do        12 they were and what they were selling?
                                                                                  13 not remember that second voicemail.                     13       MR. SMITH: Objection, asked and
                                                                                  14      Q Do you know why you received -- did you          14 answered, argumentative, and calls for a legal
                                                                                  15 ask to receive a quote regarding the vehicle            15 conclusion.
                                                                                  16 service contract that was attached to the e-mail        16       You can answer.
                                                                                  17 that you received from Samantha Yaeger?                 17     A Yeah, I was trying to determine who was
                                                                                  18        MR. SMITH: Object to form.                       18 trying to contact me.
                                                                                  19        You can answer.                                  19 BY MR. CAFFAS:
                                                                                  20      A  I was trying to understand who was              20     Q And in the process of doing so, did you
                                                                                  21 trying to contact me.                                   21 make an inquiry about who they were and what they
                                                                                  22 BY MR. CAFFAS:                                          22 were selling?
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                                                                                                                             Transcript of Ruth Smith                            40 (157 to 160)

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                                                                                                                                December 2, 2022
                                                                                                                                     157                                                   159
                                                                                  1      Q You don't know anything about their             1 BY MR. CAFFAS:
                                                                                  2 business practices?                                    2      Q How are they connected?
                                                                                  3      A I just know it's a telemarketer. It's a         3      A It's a third party on behalf of SunPath.
                                                                                  4 third party on behalf of, you know, SunPath. I         4      Q Have you purchased a Coca-Cola or Pepsi
                                                                                  5 don't know specifically what they're --                5 product from a grocery store?
                                                                                  6      Q You say you know it's a third party on          6      A Yes.
                                                                                  7 behalf of SunPath?                                     7      Q When you purchased that product from the
                                                                                  8         MR. SMITH: Objection, misstates the            8 grocery store, is the name of the grocery store on
                                                                                  9 witness's testimony.                                   9 the receipt?
                                                                                  10        MR. CAFFAS: Kelly, can you read Ms.            10     A I would -- I would assume, yes.
                                                                                  11 Smith's response back, please.                        11     Q When you purchase a product from the
                                                                                  12        (The reporter read the requested               12 grocery store, do you believe that the maker of
                                                                                  13 answer.)                                              13 the product controls how the grocery store
                                                                                  14 BY MR. CAFFAS:                                        14 displays that product?
                                                                                  15     Q What is the basis of your belief that           15        MR. SMITH: Objection, calls for
                                                                                  16 American   Protection is a third party on behalf of   16 speculation.
                                                                                  17 SunPath?                                              17        You can answer.
                                                                                  18     A Because of the -- I believe because of          18     A You're buying a Coca-Cola. It's going
                                                                                  19 the telemarketer and also because of all the, you     19 to be Coca-Cola wherever it was or whatever the
                                                                                  20 know, calls that I received.                          20 brand is, yes.
                                                                                  21     Q Did anybody from American SunPath [sic]         21 BY MR. CAFFAS:
                                                                                  22 specifically say I, American Protection, am a         22     Q So do you believe that Coca-Cola
                                                                                                                                     158                                                   160
                                                                                  1 third party on behalf of SunPath?                      1 controls -- what grocery store do you go to?
                                                                                  2         MR. SMITH: Objection, asked and                2       A I go to Whole Foods.
                                                                                  3 answered, argumentative.                               3       Q Okay. Do you believe that if you buy a
                                                                                  4 BY MR. CAFFAS:                                         4 Coca-Cola from Whole Foods that Coca-Cola controls
                                                                                  5       Q You can answer.                                5 how Whole Foods sells their product?
                                                                                  6       A Not -- not to my knowledge, no.                6          MR. SMITH: Objection, calls for
                                                                                  7       Q Have you ever communicated directly with       7  speculation.
                                                                                  8 SunPath?                                               8          Go ahead.
                                                                                  9       A Not to my knowledge, no.                       9       A I believe that they do -- that there's a
                                                                                  10      Q So you understand there's a difference         10 certain way that their products are displayed and
                                                                                  11 between American Protection and SunPath?              11 where in the grocery store they are, et cetera.
                                                                                  12        MR. SMITH: Object to form.                     12 BY MR. CAFFAS:
                                                                                  13        You can answer.                                13      Q And do you believe that Whole Foods is a
                                                                                  14      A So American Protection is a third party        14 third party on behalf of Coca-Cola?
                                                                                  15 on behalf of SunPath.                                 15         MR. SMITH: Objection, vague, confusing,
                                                                                  16 BY MR. CAFFAS:                                        16 calls for a legal conclusion.
                                                                                  17      Q So is it correct that you understand           17      A Yeah, I'm not -- I guess I don't
                                                                                  18 that they are different companies?                    18 understand.
                                                                                  19        MR. SMITH: Object to form.                     19 BY MR. CAFFAS:
                                                                                  20        Go ahead.                                      20      Q So you said something along the lines of
                                                                                  21      A Yes, but they are -- but they're               21 you understand that American Protection is a third
                                                                                  22 connected.                                            22 party on behalf of SunPath. Is that right?
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                                                                                                                            Transcript of Ruth Smith                             41 (161 to 164)

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                                                                                                                               December 2, 2022
                                                                                                                                   161                                                      163
                                                                                  1      A They were soliciting, yes.                    1 what they -- in terms of what phone numbers or how
                                                                                  2      Q So in the analogy that I'm drawing, do        2 they get them.
                                                                                  3 you then believe that Whole Foods in selling         3       Q Do you have any reason to believe that
                                                                                  4 Coca-Cola's products is a third party on behalf of   4 SunPath determines what companies' products that
                                                                                  5 Coca-Cola the same way that you're saying that       5 American Protection offers to consumers?
                                                                                  6 American Protection is a third party on behalf of    6       A I don't know.
                                                                                  7 SunPath?                                             7       Q Ruth, I'd like to direct you back to
                                                                                  8         MR. SMITH: Object to form.                   8 your complaint, specifically on page 7 of your
                                                                                  9      A Right. I think it's hard to compare the       9 complaint. There's paragraph 29, which is the
                                                                                  10 two, but -- so I...                                 10 very top of that page. You state or the complaint
                                                                                  11 BY MR. CAFFAS:                                      11 states, "All of the calls at issue here were
                                                                                  12     Q Why?                                          12 placed via an ATDS at the direction and oversight
                                                                                  13        MR. SMITH: Object to form.                   13 of defendant," defendant meaning SunPath, the only
                                                                                  14     A I mean, Whole Foods is designed or any        14 defendant here. "Defendant knew about, directed,
                                                                                  15 grocery store is designed to carry other people's   15 ratified, and benefited from those calls."
                                                                                  16 products, so it's a direct relationship. I don't    16         So to specifically address the statement
                                                                                  17 know the in's and out's of what the connections     17 that the calls were placed at the direction and
                                                                                  18 are here, but -- so I -- it's just hard for me to   18 oversight of defendant, do you have any idea how
                                                                                  19 give you an answer.                                 19 that could be true?
                                                                                  20 BY MR. CAFFAS:                                      20         MR. SMITH: Objection, calls for a legal
                                                                                  21     Q So you have no basis to say whether or        21 conclusion.
                                                                                  22 not the relationship between American Protection    22      A Yeah, I rely on my counsel.
                                                                                                                                   162                                                      164
                                                                                  1 and SunPath is similar or different from Coca-Cola   1 BY MR. CAFFAS:
                                                                                  2 and Whole Foods, for example?                        2      Q Do you personally know any facts that
                                                                                  3          MR. SMITH: Objection, harassing,            3 would lead you to state that the calls at issue
                                                                                  4 argumentative.                                       4 were placed at the direction or oversight of
                                                                                  5       A I just know that they're a third party       5 SunPath?
                                                                                  6 on behalf of SunPath.                                6        MR. SMITH: Same objection.
                                                                                  7 BY MR. CAFFAS:                                       7      A Yeah. I rely on my counsel.
                                                                                  8       Q But you don't know anything about the        8 BY MR. CAFFAS:
                                                                                  9 in's and out's of that relationship?                 9      Q You rely on your counsel for what?
                                                                                  10      A Between American Protection and SunPath?     10     A To determine the direction and
                                                                                  11      Q Correct. You don't know anything about       11 oversight.
                                                                                  12 the in's and out's in the relationship?             12     Q Well, I'm not asking about your counsel
                                                                                  13      A Right. I don't.                              13 determining anything. I'm asking about what you
                                                                                  14      Q Do you have any reason to believe, for       14 know or don't know that would lead you to say that
                                                                                  15 example, that SunPath controls sales scripts that   15 American Protection, for example, if they're
                                                                                  16 American Protection uses when it contacts           16 making the calls, did anything at the direction of
                                                                                  17 consumers?                                          17 SunPath?
                                                                                  18      A I don't.                                     18     A I rely on them for that.
                                                                                  19      Q Do you have any reason to believe that       19     Q You rely on "them" being your counsel?
                                                                                  20 SunPath   determines what phone numbers American    20     A Yes.
                                                                                  21 Protection calls?                                   21     Q And you rely on them to say what facts
                                                                                  22      A I don't know anything, I mean, about         22 you know?
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                                                                                                                             Transcript of Ruth Smith                               42 (165 to 168)

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                                                                                                                                December 2, 2022
                                                                                                                                     165                                                      167
                                                                                  1         MR. SMITH: Objection, misstates the            1 supports that SunPath knew about any specific
                                                                                  2 testimony.                                             2 calls that are the basis of your claims?
                                                                                  3      A That is not -- I rely on their guidance,        3       A I would defer to my counsel. I don't
                                                                                  4 not...                                                 4 know.
                                                                                  5 BY MR. CAFFAS:                                         5       Q So just generally, what evidence do you
                                                                                  6      Q Right, and I'm not asking for your              6 have to support your contention that SunPath is
                                                                                  7 counsel's legal guidance, I'm asking for what          7 responsible or liable for the actions of any other
                                                                                  8 facts, what information do you know, that is, if       8 party that made the calls that form the basis of
                                                                                  9 anything?                                              9 your claims?
                                                                                  10        MR. SMITH: Objection, calls for a legal        10         MR. SMITH: Objection, calls for a legal
                                                                                  11 conclusion.                                           11 conclusion.
                                                                                  12     A I rely on my counsel.                           12         You can answer.
                                                                                  13        MR. SMITH: Let me take a break and grab        13      A I rely on my counsel.
                                                                                  14 a water.                                              14 BY MR. CAFFAS:
                                                                                  15        MR. CAFFAS: We'll go off the record.           15      Q Are you aware that American Protection,
                                                                                  16        (A brief recess was had from 2:38 p.m.         16 the company    that sent you an e-mail after making
                                                                                  17 to 2:40 p.m.)                                         17 presumably some of the calls at issue, was deposed
                                                                                  18        MR. CAFFAS: Let's go back on the               18 in this case?
                                                                                  19 record.                                               19      A I don't remember.
                                                                                  20        I think it might be productive if I ask        20      Q I will represent to you that American
                                                                                  21 Kelly to again read back the question that I          21 Protection  has been deposed and they have
                                                                                  22 asked.                                                22 represented that they did not make any calls to
                                                                                                                                     166                                                      168
                                                                                  1         Could you read the last question,              1 you until after they first received a call from
                                                                                  2  Kelly.                                                2 you regarding information about their products.
                                                                                  3         (The reporter read the requested               3 Do you recall making a call to American Protection
                                                                                  4 question.)                                             4 prior to receiving any of the calls that are the
                                                                                  5      A I don't -- I don't know.                        5 basis of your claims?
                                                                                  6 BY MR. CAFFAS:                                         6      A I do not.
                                                                                  7      Q I'll ask the same thing about the               7      Q Are you saying that you've never called
                                                                                  8 potential oversight that you're claiming that the      8 American Protection directly at all?
                                                                                  9 defendant had over any party making calls. Do you      9        MR. SMITH: Objection to form.
                                                                                  10 have any facts that support that SunPath exercised    10     A Yeah, I don't remember making any calls.
                                                                                  11 any oversight over anyone making calls?               11       MR. CAFFAS: I will introduce to you
                                                                                  12        MR. SMITH: Objection, calling for a            12 what will be Exhibit 10.
                                                                                  13 legal conclusion.                                     13       (Smith Deposition Exhibit No. 10 was
                                                                                  14        You can answer.                                14 marked for identification and was attached to the
                                                                                  15     A Is it specific to a certain number, or          15 deposition transcript.)
                                                                                  16 just all?                                             16 BY MR. CAFFAS:
                                                                                  17 BY MR. CAFFAS:                                        17     Q Now, Exhibit 10 is a document that was
                                                                                  18     Q Any specific one.                               18 produced by American Protection in response to a
                                                                                  19     A Yeah, I don't know.                             19 subpoena that was served by your counsel in this
                                                                                  20     Q There's a statement in here that                20 case. Do you recognize this document?
                                                                                  21 defendant knew about the calls. Do you have any       21     A I don't.
                                                                                  22 facts or evidence that you're aware of that           22     Q And just to describe this for the
                                                                                                                              PLANET DEPOS
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                                                                                                                           Transcript of Ruth Smith                               43 (169 to 172)

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                                                                                                                              December 2, 2022
                                                                                                                                   169                                                      171
                                                                                  1 record, this is what appears to be some kind of       1 you requested to receive a call regarding vehicle
                                                                                  2 mail notice or something akin to a postcard that      2 service contracts?
                                                                                  3 reads at the top Vehicle Alert Notice, Please         3      A Not to my knowledge, no.
                                                                                  4 Respond Within Five Days, and the same number to      4      Q And likewise, have you ever visited a
                                                                                  5 call in to. I will represent to you that American     5 website where you input your personal information,
                                                                                  6 Protection represented in their deposition that       6 including your phone number, and may have
                                                                                  7 one of these mailers was mailed to you, and in        7 consented to receive calls regarding vehicle
                                                                                  8 response you called in requesting information         8 service contracts?
                                                                                  9 about the products American Protection sells. Do      9      A Not to my knowledge, no.
                                                                                  10 you confirm that you -- excuse me. Can you           10     Q Have you ever visited any website where
                                                                                  11 confirm whether or not you called American           11 you  requested information regarding information
                                                                                  12 Protection in response to a mailer similar to this   12 for your car insurance?
                                                                                  13 exhibit?                                             13     A Not to my knowledge, no.
                                                                                  14      A Yeah, I don't remember receiving a            14     Q So you've never visited any website
                                                                                  15 mailer and I don't remember making a phone call      15 where you requested a quote for car insurance?
                                                                                  16 based on that mailer.                                16     A No. My insurance is through -- my
                                                                                  17      Q Just to clarify slightly, are you saying      17 father pays for it, so he takes care of all that
                                                                                  18 that you categorically did not make such a call,     18 stuff.
                                                                                  19 or you just don't remember?                          19     Q Have you ever filed a lawsuit involving
                                                                                  20      A I believe -- no, I did not make the           20 telemarketing calls other than this one?
                                                                                  21 call. I did not remember making the call.            21     A Yes.
                                                                                  22      Q Again, just to clarify, you have never        22     Q When was that?
                                                                                                                                   170                                                      172
                                                                                  1 made a call in response to receiving a mailer         1      A I'd have to refer to the documentation,
                                                                                  2 similar to this?                                      2 but I have. I cannot remember.
                                                                                  3      A Yeah, I don't remember ever receiving a        3      Q Was that on more than one occasion?
                                                                                  4 mailer like this before.                              4      A Yes.
                                                                                  5      Q Okay. Just to clarify because I think          5      Q Do you remember how many specific cases
                                                                                  6 you said both things. You don't remember, or you      6 that would be?
                                                                                  7 did not?                                              7      A Again, I'd have to -- I don't want to
                                                                                  8      A And just to make sure I understand,            8 get the number incorrect, so I'd have to...
                                                                                  9 you're specifically talking if I ever received a      9      Q Would you be able to say whether it was
                                                                                  10 mailer for my vehicle saying that you have a         10 more or less than five?
                                                                                  11 five-day notice?                                     11     A I don't want to -- I just don't know a
                                                                                  12     Q First we'll say yes. Have you received         12 hundred percent.
                                                                                  13 a mailer similar to the exhibit that I've just       13     Q It was more than one?
                                                                                  14 shown you?                                           14     A Yes.
                                                                                  15     A No, I do not remember ever receiving a         15     Q Is it around five? Is it less than ten
                                                                                  16 mailer.                                              16 you can say?
                                                                                  17     Q Okay. And then that would mean that you        17     A I don't -- again, I don't remember. I
                                                                                  18 then are saying that you did not make a call in      18 just -- I need to check.
                                                                                  19 response to receiving such a mailer?                 19     Q Are these -- I'm specifically at this
                                                                                  20     A Correct. I do not ever remember making         20 point asking about lawsuits that were filed in
                                                                                  21 a phone call, no.                                    21 court, right? And you say that there's been more
                                                                                  22     Q Have you ever visited a website where          22 than one of these besides the present case?
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                                                                                                                           Transcript of Ruth Smith                             52 (205 to 208)

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                                                                                                                              December 2, 2022
                                                                                                                                   205                                                    207
                                                                                  1         MR. SMITH: Objection, misstates the          1       Q Can I direct your attention to SMITH26.
                                                                                  2 witness's testimony.                                 2       A I'm trying to find it. It's on page 26
                                                                                  3      A Again, to the best of my knowledge, and       3 with the Buy Now?
                                                                                  4 I think I'm also waiting on the AT&T call logs,      4       Q The Buy Now link? Okay. After you
                                                                                  5 so...                                                5 clicked the Buy Now link, what would happen?
                                                                                  6         MR. CAFFAS: I have nothing further.          6         MR. CAFFAS: Sorry. I didn't catch.
                                                                                  7         MR. SMITH: I just have a few follow-up       7 I'm not sure if the court reporter did. Can you
                                                                                  8 questions.                                           8 repeat that last question and answer?
                                                                                  9         THE WITNESS: Sure.                           9         THE WITNESS: Okay. So I --
                                                                                  10 EXAMINATION BY COUNSEL FOR THE PLAINTIFF            10        MR. SMITH: Yeah. Sure. Hold on.
                                                                                  11 BY MR. SMITH:                                       11 BY   MR. SMITH:
                                                                                  12     Q So earlier you testified that SunPath         12      Q All right. Just to clarify your
                                                                                  13 made the calls at issue. I just want to clarify.    13 testimony, are you stating that on page SMITH26
                                                                                  14 Can you tell me which party actually placed the     14 you clicked the Buy Now, which would take you to
                                                                                  15 calls in this case?                                 15 the document that starts on SMITH22?
                                                                                  16     A So it's --                                    16      A Yes. Based on my -- the best of my
                                                                                  17        MR. CAFFAS: Objection, speculation,          17 knowledge, yes.
                                                                                  18 misstating the witness's testimony.                 18      Q Okay. Do you see on SMITH22 where it
                                                                                  19 BY MR. SMITH:                                       19 says Your Plan?
                                                                                  20     Q You can answer.                               20      A I do at the top of the page on the left.
                                                                                  21     A So it was American Protection on behalf       21      Q Below that it says Coverage Provided by
                                                                                  22 of SunPath.                                         22 SunPath?
                                                                                                                                   206                                                    208
                                                                                  1       Q Okay. Earlier you reviewed an e-mail         1      A Yes.
                                                                                  2  that was marked as Exhibit 6. See that?             2      Q So is it a fair statement that this is
                                                                                  3       A Yes.                                         3 an e-mail from American Protection that would have
                                                                                  4       Q Can you turn to page SMITH22.                4 solicited you to purchase a SunPath vehicle
                                                                                  5       A Yes. Got it.                                 5 service protection plan?
                                                                                  6       Q Can you review SMITH22, SMITH23, and         6      A Yes.
                                                                                  7  SMITH24.                                            7      Q Okay. Does this change your testimony
                                                                                  8       A I reviewed it.                               8 as to whose products were being sold via the calls
                                                                                  9       Q All right. Do you know what these three      9 at issue in this case?
                                                                                  10 pages are or how they relate to the e-mail on       10     A So it's SunPath.
                                                                                  11 SMITH25?                                            11     Q Okay. I just want to clarify. American
                                                                                  12        MR. CAFFAS: I'm going to object to           12 Protection  was placing calls to sell SunPath's
                                                                                  13 vague as -- could you clarify which three pages     13 products and services?
                                                                                  14 you're referring to?                                14     A On behalf, yes.
                                                                                  15        MR. SMITH: Yeah, the ones we just            15     Q Is it fair to say that you rely on your
                                                                                  16 discussed, 22 through 24, how they relate to        16 counsel to conduct an investigation in this case?
                                                                                  17 SMITH -- the e-mail on SMITH25.                     17     A Yes.
                                                                                  18      A So these are the options for the plans       18     Q To gather facts?
                                                                                  19 for the --                                          19     A Yes.
                                                                                  20 BY MR. SMITH:                                       20     Q Are you aware that there were call logs
                                                                                  21      Q Do you know how you would access that?       21 obtained in this case from Five9, Incorporated?
                                                                                  22      A I believe there was a link.                  22     A Yes.
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                                                                                                                                            Transcript of Ruth Smith   54 (213 to 216)

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                                                                                                                                               December 2, 2022
                                                                                                                                                  213
                                                                                  1          CERTIFICATE OF SHORTHAND REPORTER
                                                                                  2               ELECTRONIC NOTARY PUBLIC
                                                                                  3            I, Kelly Carnegie, Certified Shorthand
                                                                                  4    Reporter, Registered Professional Reporter, the
                                                                                  5    officer before whom the foregoing proceedings were
                                                                                  6    taken, do hereby certify that the foregoing
                                                                                  7    transcript is a true and correct record of the
                                                                                  8    proceedings; that said proceedings were taken by
                                                                                  9    me stenographically and thereafter reduced to
                                                                                  10   typewriting under my direction; that reading and
                                                                                  11   signing was requested; and that I am neither
                                                                                  12   counsel for, related to, nor employed by any of
                                                                                  13   the parties to this case and have no interest,
                                                                                  14   financial or otherwise, in its outcome.
                                                                                  15           IN WITNESS WHEREOF, I have hereunto
                                                                                  16   electronically set my hand and affixed my notarial
                                                                                  17   seal this 5th day of December, 2022.
                                                                                  18
                                                                                     My commission expires:
                                                                                  19 July 31, 2026
                                                                                  20
                                                                                  21 _____________________________
                                                                                     NOTARY PUBLIC IN AND FOR THE
                                                                                  22 COMMONWEALTH OF VIRGINIA - PRINCE WILLIAM COUNTY
                                                                                     Notary Registration Number: 7060756




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